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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    LINDA C. ALLISON, #179741
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, CA 95814
     Linda_allison@fd.org
5
     Attorney for Defendant
6    BRIDGET COILTON
7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                       )     NO. 2:18-cr-00069-GEB
12                                                   )
                           Plaintiff,                )     STIPULATION AND [PROPOSED] ORDER
13                                                   )     TO CONTINUE STATUS CONFERENCE
            v.                                       )
14                                                   )     DATE:        July 6, 2018
     BRIDGET COILTON, et al.,                        )     TIME:        9:00 a.m.
15                                                   )     JUDGE:       Hon. Garland E. Burrell, Jr.
                           Defendant.                )
16                                                   )
                                                     )
17
18          IT IS HEREBY STIPULATED between the parties through their respective counsel,
19   Assistant United States Attorney ROSANNE RUST, Assistant Federal Defender LINDA C.
20   ALLISON, attorney for BRIDGET COILTON, MICHAEL E. HANSEN, attorney for
21   WILLIAM BENNETT and CANDICE L. FIELDS, attorney for CHRISTINA BENNETT that
22   the status conference currently set for July 6, 2018, be vacated and continued to August 24, 2018,
23   at 9:00 a.m.
24          The parties further stipulate and agree that the time from the date of this stipulation, May
25   14, 2018 through August 24, 2018 should be excluded from the time calculations under the
26   Speedy Trial Act. 18 U.S.C. § 3161.
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1            Defense counsel Linda Allison will be out of the office from late May through July. All
2    parties will need additional time to review the discovery and conduct an investigation. The
3    parties therefore stipulate that the ends of justice are served by the Court excluding such time, so
4    that counsel for the defendants may have reasonable time necessary for effective preparation,
5    taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(iv)
6    [reasonable time to prepare] and Local Code T-4.
7            For all of these reasons, the parties stipulate and agree to exclude time from the date of
8    this stipulation May14, 2018 to August 24, 2018 under the Speedy Trial Act (18 U.S.C. § 3161)
9    and the Local Rules.
10   Dated: May 14, 2018                                    Respectfully submitted,
11
                                                            HEATHER E. WILLIAMS
12                                                          Federal Defender
13                                                          /s/ Linda C. Allison
                                                            LINDA C. ALLISON
14                                                          Assistant Federal Defender
                                                            Attorney for Defendant
15                                                          BRIDGET COILTON
16
     Dated: May 14, 2018                                    /s/ Michael Hansen
17                                                          MICHAEL E. HANSEN
                                                            Attorney for WILLIAM BENNETT
18
19
     Dated: May 14, 2018                                    /s/ Candice L. Fields
20                                                          Attorney for CHRISTINA BENNETT
21
     Dated: May 14, 2018                                    McGREGOR W. SCOTT
22                                                          United States Attorney
23
                                                            /s/ Linda C. Allison for
24                                                          ROSANNE RUST
                                                            Assistant United States Attorney
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     ///
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1                                                 ORDER
2           IT IS HEREBY ORDERED that the status conference hearing set for July 6, 2018 at 9:00
3    a.m. be vacated and continued to August 24, 2018 at 9:00 a.m.
4           For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
5    within which trial must commence, the time period from the date of this order though May 14,
6    2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(1)(D), (h)(7)(A), (B)(iv)
7    and Local Code T4 because it results from a continuance granted by the Court at both parties’
8    request on the basis of the Court’s finding that the ends of justice served by taking such action
9    outweigh the best interest of the public and the defendant in a speedy trial.
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     Dated: May 16, 2018
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